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                     IN THE UNITED STATES COURT OF APPEALS
                             FOR THE SIXTH CIRCUIT

 UNITED STATES OF AMERICA                   :    CASE NO.       23-3265

                Plaintiff-Appellee,         :    Trial Case No. 3:21-CR-061
                                                 (Judge Thomas M. Rose)
 v.                                         :

 WILLIAM S. HITCHINGS                       :    MOTION TO WITHDRAW AS COUNSEL
                                                 FOR DEFENDANT-APPELLANT
                Defendant-Appellant.        :

            ___________________________________________________________

       Now come James P. Fleisher and the law firm of Bieser, Greer & Landis, LLP, and

respectfully request leave to withdraw as counsel for the Defendant-Appellant, William S.

Hitchings. As grounds for this motion counsel states that he has served as appointed trial counsel

for Mr. Hitchings throughout the entire District Court proceedings which are the subject of this

appeal. The issues of ineffective assistance of counsel, prosecutorial misconduct and other limited

matters may be litigated on appeal and thereafter. As a result, counsel believes that the Appellant

should be appointed new counsel to handle his appeal.

       Upon information and belief, the Defendant-Appellant is indigent and qualifies for court-

appointed counsel. Accordingly, the Defendant-Appellant respectfully requests that this Court

grant counsel’s motion to withdraw and appoint new appellate counsel.
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         I hereby certify that I have provided Defendant-Appellant with a true and accurate copy of

this Motion to Withdraw as Counsel by mailing a copy thereof to him by First Class United States

Mail to: Mr. William S. Hitchings, Butler County Jail, Booking No. 197552-002, 705 Hanover

Street, Hamilton, Ohio 45011. By copy of this Motion, I have informed Mr. Hitchings that he has

fourteen (14) days from the service of this motion in which to file a response if he so chooses.

                                                Respectfully submitted,


                                                /s/ James P. Fleisher
                                                James P. Fleisher
                                                (Atty. Reg. No. 0059509)
                                                BIESER, GREER & LANDIS, LLP
                                                6 North Main Street, Suite 400
                                                Dayton, OH 45402-1908
                                                PHONE:         (937) 250-7783
                                                FAX:           (937) 223-6339
                                                E-MAIL:        jpf@biesergreer.com

                                                Attorney for Appellant, William S. Hitchings


                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 17th day of April, 2023, I filed the foregoing Motion to Withdraw

as Counsel for Appellant, William S. Hitchings, with the United States Court of Appeals for the

Sixth Circuit by way of the Court’s electronic filing system. A copy has been forwarded to

Christina Mahy, Office of the United States Attorney, 200 W. Second Street, Suite 602, Dayton,

OH 45402 by electronic transmission to christina.mahy@usdoj.gov.


                                                /s/ James P. Fleisher
                                                James P. Fleisher (Atty. Reg. No. 0059509)

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